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                      UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF WISCONSIN
______________________________________________________________________________

ASHLEY GRUTT (f/k/a D’AMICO),                         CASE NO. 3:20-cv-0880
          Plaintiff,

       vs.                                            Judge

EXPERIAN INFORMATION
SOLUTIONS INC.; EQUIFAX
INFORMATION SERVICES, LLC;
and TRANS UNION, LLC;
            Defendants.
______________________________________________________________________________

                 TRANS UNION, LLC’S NOTICE OF REMOVAL
______________________________________________________________________________

       Pursuant to 28 U.S.C. §§ 1331, 1441, and 1446, Defendant Trans Union, LLC (“Trans

Union”) hereby removes the subject action from the Circuit Court of Dunn County, State of

Wisconsin, to the United States District Court for the Western District of Wisconsin, on the

following grounds:

       1.     Plaintiff Ashley Grutt (f/k/a D’Amico) served Trans Union on or about September

18, 2020, with a Electronic Filing Notice, Summons and Complaint filed in the Circuit Court of

Dunn County, State of Wisconsin.       Copies of the Electronic Filing Notice, Summons and

Complaint are attached hereto as Exhibit A, Exhibit B and Exhibit C. No other process,

pleadings or orders have been served on Trans Union.

       2.     Plaintiff makes claims under, alleges that Trans Union violated and alleges that

Trans Union is liable under the Fair Credit Reporting Act, 15 U.S.C. § 1681 et seq. (the “FCRA”).

See Complaint ¶¶ 1, 35-42.




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       3.      This Court has original jurisdiction over the subject action pursuant to 28 U.S.C.

§ 1331 because there is a federal question. As alleged, this suit falls within the FCRA, which thus

supplies this federal question.

       4.      Pursuant to 28 U.S.C. § 1441, et seq., this cause may be removed from the Circuit

Court of Dunn County, State of Wisconsin, to the United States District Court for the Western

District of Wisconsin.

       5.      Counsel for Trans Union has confirmed via the Dunn County Circuit Court’s online

case management system that there is no document or file suggesting any other Defendant has

been served. To the best of Trans Union’s knowledge, no other named Defendant in this matter

has been served as of the date and time of this Notice Of Removal.

       WHEREFORE, Defendant Trans Union, LLC, by counsel, removes the subject action from

the Circuit Court of Dunn County, State of Wisconsin to this United States District Court, Western

District of Wisconsin.

                                                       Respectfully submitted,



                                                       s/ Sandra Davis Jansen
                                                       Sandra Davis Jansen, Esq.
                                                       Schuckit & Associates, P.C.
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                                                       Zionsville, IN 46077
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                                                       E-Mail: sjansen@schuckitlaw.com

                                                       Counsel for Defendant Trans Union, LLC




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                                 CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a copy of the foregoing has been filed electronically

on the 22nd day of September, 2020. Notice of this filing will be sent to the following parties by

operation of the Court’s electronic filing system. Parties may access this filing through the Court’s

electronic filing.

 None

        The undersigned further certifies that a true copy of the foregoing was served on the

following parties via First Class, U.S. Mail, postage prepaid, on the 22nd day of September, 2020,

properly addressed as follows:

 for Plaintiff Ashley Grutt (f/k/a D’Amico)
 Matthew Lein, Esq.
 Lein Law Offices, LLP
 15692 Hwy 63 North
 P.O. Box 761
 Hayward, WI 54843



                                                        s/ Sandra Davis Jansen
                                                        Sandra Davis Jansen, Esq.
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                                                        E-Mail: sjansen@schuckitlaw.com

                                                        Counsel for Defendant Trans Union, LLC




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